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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10 MARK POTTER,                                   Case No. 3:14-cv-00004-DMS-JMA
                                                   Hon. Dana M. Sabraw
 11                  Plaintiff,                    Ctrm. 13A – Annex
 12            vs.
                                                   ORDER OF DISMISSAL WITH
 13 BANK OF AMERICA                                PREJUDICE
    CORPORATION; and DOES 1 TO 5,
 14
             Defendants.                           Action Filed: November 25, 2013
 15                                                Removal Date: January 2, 2014
 16
 17            The Court, having considered the Joint Stipulation for Dismissal with
 18 Prejudice filed by the parties, and GOOD CAUSE APPEARING THEREFOR,
 19            IT IS ORDERED that the above-entitled action is hereby dismissed in its
 20 entirety with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of
 21 Civil Procedure.
 22            IT IS SO ORDERED.
 23 DATED: December 11, 2014
 24
 25
 26
                                                   HON DANA M
                                                   HON.      M. SABRAW
 27                                         UNITED STATES DISTRICT COURT JUDGE
 28
      70000.1655                                                           3:14-cv-00004-DMS-JMA
